Case 5:18-cv-01187-JGB-SP Document 1 Filed 06/01/18 Page 1 of 6 Page ID #:1




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6
7    Attorneys for Defendant
      DISCOVER PRODUCTS INC., erroneously sued as
8     DISCOVER FINANCIAL SERVICES, LLC
9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11
12   AMANDEEP SINGH,                       )   Case No. 5:18-cv-01187
                                           )
13                                         )   NOTICE OF REMOVAL OF
                   Plaintiff,              )
                                           )   DEFENDANT DISCOVER
14
             v.                            )   PRODUCTS INC.
15                                         )
     CAPITOL ONE; DISCOVER                 )
16                                         )
     FINANCIAL SERVICES, LLC; and          )
17   DOES 1 TO 100, inclusive,             )
                                           )
18                 Defendants.             )
                                           )
19                                         )
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                         NOTICE OF REMOVAL OF DEFENDANT DISCOVER PRODUCTS INC.
     LA 52177213
                                                                     Case 5:18-cv-01187-JGB-SP Document 1 Filed 06/01/18 Page 2 of 6 Page ID #:2




                                                                     1            TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                                                     2    DISTRICT OF CALIFORNIA:
                                                                     3            PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. Sections 1331,
                                                                     4    1332, 1441(a), and 1446, defendant Discover Products Inc. (“DPI”), erroneously
                                                                     5    sued as Discover Financial Services, LLC, hereby removes the action entitled
                                                                     6    Amandeep Singh v. Capitol One and Discover Financial Services, LLC, Superior
                                                                     7    Court of California, County of San Bernardino, Case No. CIVDS 1723534 (the
                                                                     8    “Action”), to the United States District Court for the Central District of California,
                                                                     9    Eastern Division, on the following grounds:
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                                                                     10           1.    Removal Is Timely. The Summons, Complaint and Amendment to the
                                                                     11   Complaint were personally served on DPI on May 4, 2018. DPI has timely filed this
                                Los Angeles, California 90067-3086




                                                                          Notice of Removal pursuant to 28 U.S.C. § 1446(b) because DPI has filed it within
                                     2029 Century Park East




                                                                     12
                                                                     13   30 days of receipt by, and service on, DPI of the Complaint, and within one year
                                                                     14   after “commencement of the action” in state court. Pursuant to 28 U.S.C. § 1446(a),
                                                                     15   true and correct copies of all documents served on DPI in this Action, including the
                                                                     16   Summons, the Complaint with its associated exhibits, and the Amendment to the
                                                                     17   Complaint are attached as Exhibit A.
                                                                     18           2.    This Court Has Removal Jurisdiction Over This Action.
                                                                     19                 a.     Diversity Jurisdiction. This Court has original jurisdiction over
                                                                     20   the Action pursuant to 28 U.S.C. § 1332(a) and the Action is removable to this Court
                                                                     21   by DPI pursuant to 28 U.S.C. § 1441(b). The Action is a civil action between a
                                                                     22   citizen of this State and citizens of foreign states and the amount in controversy
                                                                     23   exceeds $75,000, exclusive of interest and costs. See 28 U.S.C. § 1332(a)(2)
                                                                     24   (“[D]istrict courts shall have original jurisdiction of all civil actions where the
                                                                     25   amount in controversy exceeds the sum or value of $75,000 . . . and is between []
                                                                     26   citizens of a State and citizens or subjects of a foreign state . . . .”).
                                                                     27           Initially, Plaintiff Amandeep Singh (“Plaintiff”) is a citizen of California. A
                                                                     28   person’s residence is prima facie evidence of the person’s domicile and thereby their
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                                                                                               NOTICE OF REMOVAL OF DEFENDANT DISCOVER PRODUCTS INC.
                                                                          LA 52177213
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                                                                     1    citizenship. See Mondgragon v. Capital One Auto Finance, 736 F.3d 880, 886 (9th
                                                                     2    Cir. 2013); see also Anderson v. Watts, 138 U.S. 694, 706 (1891) (“The place where
                                                                     3    a person lives is taken to be his domicile until facts adduced establish the
                                                                     4    contrary…”). Here, Plaintiff provides within the various documents served on DPI a
                                                                     5    California address. (See Exhibit A.) In addition, Plaintiff attaches a copy of his
                                                                     6    driver’s license, which indicates that Plaintiff is a resident of California. (See
                                                                     7    Plaintiff’s driver’s license, attached within Exhibit A.) Accordingly, Plaintiff is a
                                                                     8    citizen of California for purposes of analyzing diversity jurisdiction.
                                                                     9            Next, defendants are citizens of foreign states. For purposes of analyzing
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                                                                     10   diversity jurisdiction, a national banking association “is a citizen of the State in
                                                                     11   which its main office, as set forth in its articles of association, is located.” Wachovia
                                Los Angeles, California 90067-3086




                                                                          Bank v. Schmidt, 546 U.S. 303, 307 (2006); see also Rouse v. Wachovia Mortg.,
                                     2029 Century Park East




                                                                     12
                                                                     13   FSB, 747 F.3d 707, 708 (9th Cir. 2014) (holding that a national bank is a citizen only
                                                                     14   of the state in which its main office is located as designated in the bank’s articles of
                                                                     15   association); 28 U.S.C. § 1348 (stating that a national bank is a citizen of the state in
                                                                     16   which it is “located”). A corporation is deemed to be a citizen of the State where it is
                                                                     17   incorporated and where it has its “principal place of business.” 28 U.S.C.
                                                                     18   § 1332(c)(1). Here, defendant Capital One Bank (USA), N.A. (“Capital One”),
                                                                     19   which Plaintiff names in his Amendment to Complaint, is a national banking
                                                                     20   association with its main office in Virginia. DPI is a Utah corporation with its
                                                                     21   principal place of business in Utah. As a result, defendants are citizens of Virginia
                                                                     22   and Utah, respectively.
                                                                     23           Finally, and although DPI denies any liability whatsoever, the allegations of
                                                                     24   the Complaint establish that the amount in controversy exceeds the $75,000.00
                                                                     25   threshold. See 28 U.S.C. § 1446(c)(2) (“the sum demanded in good faith in the
                                                                     26   initial pleading shall be deemed to be the amount in controversy”); Crum v. Circus
                                                                     27   Circus Enterprises, 231 F.3d 1129, 1131 (9th Cir. 2000) (“Generally, the amount in
                                                                     28   controversy is determined from the face of the pleadings.”). Here, Plaintiff demands
                                                                                                                     -3-
                                                                                              NOTICE OF REMOVAL OF DEFENDANT DISCOVER PRODUCTS INC.
                                                                          LA 52177213
                                                                     Case 5:18-cv-01187-JGB-SP Document 1 Filed 06/01/18 Page 4 of 6 Page ID #:4




                                                                     1    $700,000 in actual damages, plus interest, as well as attorney’s fees and $20,000,000
                                                                     2    in punitive damages. Accordingly, and based solely upon Plaintiff’s Complaint,
                                                                     3    which DPI denies has any merit whatsoever, the amount in controversy satisfies the
                                                                     4    $75,000 threshold.
                                                                     5            Accordingly, this Court has original jurisdiction pursuant to 28 U.S.C. §
                                                                     6    1332.1
                                                                     7                    b.    Federal Question Jurisdiction. In addition to jurisdiction pursuant
                                                                     8    to 28 U.S.C. § 1332, original jurisdiction exists pursuant to 28 U.S.C. § 1331 as this
                                                                     9    Action arises out of the law of the United States. In his Complaint, Plaintiff takes
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                                                                     10   issues with alleged negative entries on his credit reports that he alleges defendants
                                                                     11   failed to remove. (See Compl. at BC-1, BC-2; FR-2; and FR-3.) Based on these
                                Los Angeles, California 90067-3086




                                                                          allegations, Plaintiff alleges that defendants breached a contract and engaged in
                                     2029 Century Park East




                                                                     12
                                                                     13   fraud. (Id.) However, these claims are entirely preempted by the Fair Credit
                                                                     14   Reporting Act, 15 U.S.C. § 1681t(b)(1)(F), which states that “[n]o requirement or
                                                                     15   prohibition may be imposed under the law of any State—with respect to any subject
                                                                     16   matter regulated under…section 1681s-2 of this title, relating to the responsibilities
                                                                     17   of persons who furnish information[.]” See Metro. Life Ins. Co. v. Taylor, 481 U.S.
                                                                     18   58, 63–64 (holding that “Congress may so completely pre-empt a particular area that
                                                                     19   any civil complaint raising this select group of claims is necessarily federal in
                                                                     20   character.”).
                                                                     21           3.      Co-Defendant Capital One Consents to Removal. Prior to the filing of
                                                                     22   this Notice of Removal, counsel for DPI conferred with counsel for Capital One, who
                                                                     23   advised that Capital One consents to the removal of this Action. DPI is not aware of
                                                                     24   any other defendants that have been named or served with the Complaint.
                                                                     25   Accordingly, no additional consent of removal is necessary and removal is proper
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                                                                          1
                                                                     27    Pursuant to 28 U.S.C. § 1441(b)(2), an action “may not be removed if any of the
                                                                          parties in interest properly joined and served as defendants is a citizen of the State in
                                                                     28   which such action is brought.” Here, no “local” defendant has been named in the
                                                                          Action. Accordingly, removal is appropriate.
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                                                                                               NOTICE OF REMOVAL OF DEFENDANT DISCOVER PRODUCTS INC.
                                                                          LA 52177213
                                                                     Case 5:18-cv-01187-JGB-SP Document 1 Filed 06/01/18 Page 5 of 6 Page ID #:5




                                                                     1    pursuant to 28 U.S.C. § 1446(a) & (b). See Emrich v. Touche Ross & Co., 846 F.2d
                                                                     2    1190, 1193 n.1 (9th Cir. 1988) (The general rule that “all defendants in a state action
                                                                     3    must join in the petition for removal . . . [applies] only to defendants properly joined
                                                                     4    and served in the action.”).
                                                                     5            4.    Venue Is Proper In This Court. This Court is the proper district court
                                                                     6    for removal because the Superior Court of the State of California for the County of
                                                                     7    San Bernardino is located within the United State District Court for the Central
                                                                     8    District of California, Eastern Division. See 23 U.S.C. § 1441(a).
                                                                     9            5.    Notice Will Be Effected. Pursuant to 28 U.S.C. §1446(d), DPI will
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                                                                     10   concurrently serve Plaintiff with copies of this Notice of Removal and the Notice
                                                                     11   filed in the Action. DPI concurrently is filing a copy of this Notice of Removal of
                                Los Angeles, California 90067-3086




                                                                          Action with the Superior Court of the State of California for the County of San
                                     2029 Century Park East




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                                                                     13   Bernardino.
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                                                                     15   Dated: June 1, 2018                        STROOCK & STROOCK & LAVAN LLP
                                                                                                                     ARJUN P. RAO
                                                                     16                                              ADAM P. SNYDER
                                                                     17
                                                                     18                                              By:              /s/ Arjun P. Rao
                                                                                                                                        Arjun P. Rao
                                                                     19
                                                                                                                     Attorneys for Defendant
                                                                     20                                                  DISCOVER PRODUCTS INC.,
                                                                                                                         erroneously sued as DISCOVER
                                                                     21                                                  FINANCIAL SERVICES, LLC
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                                                                                              NOTICE OF REMOVAL OF DEFENDANT DISCOVER PRODUCTS INC.
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                                                                     Case 5:18-cv-01187-JGB-SP Document 1 Filed 06/01/18 Page 6 of 6 Page ID #:6




                                                                     1                               CERTIFICATE OF SERVICE
                                                                     2            I hereby certify that on June 1, 2018, a copy of the foregoing NOTICE OF
                                                                     3    REMOVAL OF DEFENDANT DISCOVER PRODUCTS INC. was filed
                                                                     4    electronically. Notice of this filing will be sent by e-mail to all parties by operation
                                                                     5    of the court’s electronic filing system or by mail to anyone unable to accept
                                                                     6    electronic filing as indicated on the Notice of electronic Filing. Parties may access
                                                                     7    this filing through the court’s EM/ECF System.
                                                                     8                                                              /s/ Arjun P. Rao
                                                                     9                                                                Arjun P. Rao
STROOCK & STROOCK & LAVAN LLP




                                                                     10
                                                                           Via U.S. Mail:
                                                                     11
                                Los Angeles, California 90067-3086




                                                                           Amandeep Singh
                                     2029 Century Park East




                                                                     12
                                                                           16856 Merrill Street
                                                                     13    Fontana, CA 92335
                                                                     14
                                                                           Hunter Eley
                                                                     15    Doll Amir & Eley
                                                                     16    1888 Century Park East, Suite 1850
                                                                           Los Angeles, CA 90067
                                                                     17    Email: heley@dollamir.com
                                                                     18    Attorney for Capital One (USA) N.A.

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